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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


AUTHORS GUILD, DAVID BALDACCI, MARY
BLY, MICHAEL CONNELLY, SYLVIA DAY,
JONATHAN FRANZEN, JOHN GRISHAM, ELIN                Case No. 1:23-cv-08292-SHS
HILDERBRAND, CHRISTINA BAKER KLINE,
MAYA SHANBHAG LANG, VICTOR                          Case No. 1:23-cv-10211-SHS
LAVALLE, GEORGE R.R. MARTIN, JODI                   Case No. 1:24-cv-00084-SHS
PICOULT, DOUGLAS PRESTON, ROXANA
ROBINSON, GEORGE SAUNDERS, SCOTT
TUROW, and RACHEL VAIL, individually and on         STIPULATION AND
behalf of others similarly situated,                PROPOSED [ORDER]
                                                    REGARDING PROTECTIVE
                       Plaintiffs,                  ORDER
          v.

OPENAI INC., OPENAI OPCO LLC, OPENAI GP
LLC, OPENAI LLC, OPENAI GLOBAL LLC, OAI
CORPORATION LLC, OPENAI HOLDINGS LLC,
OPENAI STARTUP FUND I LP, OPENAI
STARTUP FUND GP I LLC, OPENAI STARTUP
FUND MANAGEMENT LLC, and MICROSOFT
CORPORATION,
                 Defendants.

JONATHAN ALTER, KAI BIRD, TAYLOR
BRANCH, RICH COHEN, EUGENE LINDEN,
DANIEL OKRENT, JULIAN SANCTON,
HAMPTON SIDES, STACY SCHIFF, JAMES
SHAPIRO, JIA TOLENTINO, and SIMON
WINCHESTER, on behalf of themselves and all
others similarly situated,

                       Plaintiffs,
          v.
OPENAI, INC., OPENAI GP, LLC, OPENAI, LLC,
OPENAI OPCO LLC, OPENAI GLOBAL LLC,
OAI CORPORATION, LLC, OPENAI HOLDINGS,
LLC, and MICROSOFT CORPORATION,

                       Defendants.

[Caption continued on next page]
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  NICHOLAS A. BASBANES and NICHOLAS
  NGAGOYEANES (professionally known as
  Nicholas Gage), individually and on behalf of all
  others similarly situated,

                           Plaintiffs,
            v.
  MICROSOFT CORPORATION, OPENAI, INC.,
  OPENAI GP, L.L.C., OPENAI HOLDINGS, LLC,
  OAI CORPORATION, LLC, OPENAI GLOBAL,
  LLC, OPENAI, L.L.C., and OPENAI OPCO, LLC,

                           Defendants.


        WHEREAS all of the parties to this action (collectively, the “Parties,” and individually, a

 “Party”) request that this Court issue a modified protective order pursuant to Federal Rule of

 Civil Procedure 26(c) to protect the confidentiality of certain nonpublic and confidential material

 of third parties that will be exchanged pursuant to and during the course of discovery in this case;

       WHEREAS, the Parties have reached an agreement to modify Paragraph 16 of the

Stipulated Protective Order governing the above-captioned consolidated cases (ECF 148, No. 1:23-

cv-08292-SHS-OTW) to allow parties to designate agreements or draft agreements, and documents

regarding negotiations thereof, “HIGHLY CONFIDENTIAL – OUTSIDE COUNSELS’ EYES

ONLY,” as set forth more fully below, in response to certain third party requests that such

documents be inaccessible to inhouse counsel in this case;

        WHEREAS, good cause exists for the modification of the Stipulated Protective Order

 pursuant to Federal Rule of Civil Procedure 26(c) to enable competitively sensitive commercial

 material of third parties requested by a party to be produced in this case and protected from

 unnecessary disclosure;

        WHEREAS, the Parties have reached an agreement to modify Paragraph 25 of the




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 Stipulated Protective Order governing the above-captioned consolidated cases to mirror the sealing

 procedure in The New York Times Co. v. Microsoft Corp., No. 1:23-cv-11195-SHS-OTW

 (S.D.N.Y.) and consolidated cases;

        WHEREAS, good cause exists for the modification of the Stipulated Protective Order

 pursuant to Federal Rule of Civil Procedure 26(c) to enable an efficient sealing process that protects

 confidential and competitively sensitive commercial parties from unnecessary disclosure;

        THEREFORE, the Parties, through counsel, agree as follows:


       1.      The Parties request that the Court enter the following modification to Paragraph

16 of the Stipulated Protective Order, as reflected in the underlined text:

16.    No person subject to this Protective Order other than the producing Party shall disclose

any of the Discovery Material designated by the producing Party as “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL SOURCE

CODE” to any other person whomsoever, except to:

       (a) the recipient’s outside counsel of record in this action, as well as employees of said

outside counsel of record to whom it is reasonably necessary to disclose the information for this

litigation, provided such person is subject to confidentiality obligations at least as stringent as

those set forth in the Non-Disclosure Agreement annexed as an Exhibit hereto;

       (b) designated inhouse counsel of the recipient to whom disclosure is reasonably

necessary for this litigation, provided such person has first executed a Non-Disclosure

Agreement in the form annexed as an Exhibit hereto;

               (i) Agreements or draft agreements between a producing Party and a third party,

               as well as documents reflecting negotiations regarding such agreements, may be

               designated “HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL’S EYES




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               ONLY.” Inhouse counsel of the recipient shall not be permitted to access such

               information absent explicit written permission from the producing Party or the

               relevant third party. For the avoidance of doubt, documents designated as

               “HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL’S EYES ONLY” can be

               shared as described in subparagraphs 16(a) and 16(c)-16(h).

       (c) experts of the recipient to whom disclosure is reasonably necessary for this litigation,

provided such persons have first executed a Non-Disclosure Agreement in the form annexed as

an Exhibit hereto;

       (d) the court and its personnel;

       (e) court reporters and their staff, professional jury or trial consultants, and professional

vendors to whom disclosure is reasonably necessary for this litigation, provided such persons

have first executed a Non-Disclosure Agreement in the form annexed as an Exhibit hereto;

       (f) during their depositions, witnesses in the action to whom disclosure is reasonably

necessary, provided such persons have first executed a Non-Disclosure Agreement in the form

annexed as an Exhibit hereto and the disclosing Party has obtained the consent of the producing

Party or approval of the Court.

       (g) the author or recipient of a document containing the information or a custodian or

other person who otherwise possessed, had/have access to, or knew the information; or

       (h) during their deposition, witnesses in the action who are employees or directors of the

producing Party.


       2.      The Parties request that the Court enter the following modification to Paragraph

25 of the Stipulated Protective Order to replace in total the current text of Paragraph 25 with the

following:




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25.    For any document a party (“Filing Party”) seeks to seal because that document has been

designated as confidential by another party or non-party (the “Designating Party”), the Filing

Party’s motion or letter motion to seal shall state that the basis for sealing is the Designating

Party’s designation and immediately provide notice to the Designating Party of the sealing

request, with a copy of filed documents showing the Designating Party’s confidential materials

unredacted. Within five business days of the filing of the motion to seal, the Designating Party

will file with the Court a statement of the reasons that the confidential material should be sealed

that complies with Paragraph 5(B) of Judge Stein’s Individual Practices. No person may file with

the Court redacted documents or documents under seal without first seeking leave to file such

papers. All persons producing Confidential Discovery Material are deemed to be on notice that

the Second Circuit puts limitations on the documents or information that may be filed in redacted

form or under seal and that the Court retains discretion not to afford confidential treatment to

any Protected Discovery Material submitted to the Court or presented in connection with any

motion, application or proceeding that may result in an order and/or decision by the Court unless

it is able to make the specific findings required by law in order to retain the confidential nature

of such material. Notwithstanding its designation, there is no presumption that Protected

Discovery Material will be filed with the Court under seal. The Parties will use their best efforts

to minimize such sealing.

       3.      A version of the Modified Stipulated Protective Order including the above edit is

attached hereto as Exhibit A.




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SO STIPULATED AND AGREED.

Dated: March 18, 2025

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    SO ORDERED.
                                       ______________________________
                                       ONA T. WANG
                                       United States Magistrate Judge

     Dated:
     New York, New York




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                                        ATTESTATION

        Pursuant to S.D.N.Y. Electronic Case Filing Rule 8.5, I hereby attest that all other

signatories listed, and on whose behalf the filing is submitted, concur in the content and have

authorized this filing.


Dated: March 18, 2025                 FAEGRE DRINKER BIDDLE & REATH LLP

                                      By:      /s/ Jared B. Briant
                                              Jared B. Briant




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